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                          UNITED STATES BANKRUPTCY COURT
                                       FOR THE
                             DISTRICT OF MASSACHUSETTS


 In re                                               IN PROCEEDINGS UNDER
 ANDREW GREENHUT,                                    CHAPTER 13
                Debtor                               CASE NO.: 19-10782


 MOTION OF DEBTOR TO AMEND SUMMARY OF SCHEDULES, SCHEDULES “I”
                    AND “J” AND FORM 106DEC

       NOW COMES, the Debtor, Andrew Greenhut, and hereby moves this Honorable,

pursuant to Fed. R. Bankr. Pro. 1009(a) and MLBR 1009-1(a), for an Order permitting the

Debtor to amend his Summary of Schedules, Schedules “I” and “J” and Form 106Dec. As

grounds therefor, the Debtor states as follows:

1. Contemporaneously with the filing of this Motion, the Debtor has filed a Second Amended

   Chapter 13 Plan and Motion to Approve the Amendment of the same.

2. The Debtor’s Amended Summary of Schedules, Amended Schedules “I” and “J” and

   Amended Form 106Dec are attached hereto as Exhibit “A”.

3. The Amendment of both the Plan and the Schedules referred to herein are occasioned by the

   recent decision of the Texas Supreme Court ruling in favor of the Creditor Gita Srivastava

   and the Debtor’s decision not to ,pursue and further appeals of the same. Additionally, the

   Debtor has been informed by his partner and fiancée that she is expecting their first child due

   in December of 2020.

4. These events represent a substantial change in the Debtor’s financial and legal circumstances

   and necessitate the filing of an Amended Schedules of Income and Expenses and the

   submission of a Second Amended Chapter 13 Plan.
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5. The Debtor’s Amended Schedules reflect the Debtor’s current income as of this date and the

   Debtor’s current and reasonably expected future expenses in order to support the terms of the

   Debtor Second Amended Chapter 13 Plan.

6. The Debtor current expenses are reflected in the Amended Schedule “J” and an Attachment

   thereto reflected the reasonably expected further changes in the Debtor’s expenses by

   category on and after the birth of the Debtor’s child in December of 2020.

    WHEREFORE, the Debtor respectfully requests that the Court allow the amendment of his

Summary of Schedules, Schedules “I” and “J” and Form 106Dec and grant all other relief

deemed just and proper.


                                            ANDREW GREENHUT, Debtor
                                            By his Attorney,

Date: 6/1/2020                              /s/ Richard N. Gottlieb, Esq.
                                            Richard N. Gottlieb, Esq. BBO# 547970
                                            Law Offices of Richard N. Gottlieb
                                            Ten Tremont Street
                                            Suite 11, 3rd Floor
                                            Boston, MA 02108
                                            (617) 742-4491
                                            rnglaw@verizon.net
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 Fill in this information to identify your case:

 Debtor 1                   Andrew Greenhut
                            First Name                           Middle Name                          Last Name

 Debtor 2
 (Spouse if, filing)        First Name                           Middle Name                          Last Name


 United States Bankruptcy Court for the:                  DISTRICT OF MASSACHUSETTS

 Case number           19-10782
 (if known)
                                                                                                                                                                  Check if this is an
                                                                                                                                                                  amended filing



Official Form 106Sum
Summary of Your Assets and Liabilities and Certain Statistical Information                                                                                             12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill out all of your schedules first; then complete the information on this form. If you are filing amended schedules after you file
your original forms, you must fill out a new Summary and check the box at the top of this page.

 Part 1:        Summarize Your Assets

                                                                                                                                                                 Your assets
                                                                                                                                                                 Value of what you own

 1.     Schedule A/B: Property (Official Form 106A/B)
        1a. Copy line 55, Total real estate, from Schedule A/B................................................................................................    $                     0.00

        1b. Copy line 62, Total personal property, from Schedule A/B.....................................................................................         $             75,727.63

        1c. Copy line 63, Total of all property on Schedule A/B...............................................................................................    $             75,727.63

 Part 2:        Summarize Your Liabilities

                                                                                                                                                                 Your liabilities
                                                                                                                                                                 Amount you owe

 2.     Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)
        2a. Copy the total you listed in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...                                     $               7,253.70

 3.     Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F)
        3a. Copy the total claims from Part 1 (priority unsecured claims) from line 6e of Schedule E/F.................................                           $               4,443.00

        3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line 6j of Schedule E/F............................                             $            385,787.24


                                                                                                                                     Your total liabilities $               397,483.94


 Part 3:        Summarize Your Income and Expenses

 4.     Schedule I: Your Income (Official Form 106I)
        Copy your combined monthly income from line 12 of Schedule I................................................................................              $               7,951.52

 5.     Schedule J: Your Expenses (Official Form 106J)
        Copy your monthly expenses from line 22c of Schedule J..........................................................................                          $               4,936.40

 Part 4:        Answer These Questions for Administrative and Statistical Records

 6.     Are you filing for bankruptcy under Chapters 7, 11, or 13?
             No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

           Yes
 7.     What kind of debt do you have?

                Your debts are primarily consumer debts. Consumer debts are those “incurred by an individual primarily for a personal, family, or
                household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

            Your debts are not primarily consumer debts. You have nothing to report on this part of the form. Check this box and submit this form to
            the court with your other schedules.
 Official Form 106Sum           Summary of Your Assets and Liabilities and Certain Statistical Information                        page 1 of 2
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 Debtor 1      Andrew Greenhut                                                            Case number (if known) 19-10782

 8.    From the Statement of Your Current Monthly Income: Copy your total current monthly income from Official Form
       122A-1 Line 11; OR, Form 122B Line 11; OR, Form 122C-1 Line 14.                                                              $       13,179.08


 9.    Copy the following special categories of claims from Part 4, line 6 of Schedule E/F:

                                                                                                         Total claim
       From Part 4 on Schedule E/F, copy the following:

       9a. Domestic support obligations (Copy line 6a.)                                                   $                  0.00

       9b. Taxes and certain other debts you owe the government. (Copy line 6b.)                          $              4,443.00

       9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.)                $                  0.00

       9d. Student loans. (Copy line 6f.)                                                                 $                  0.00

       9e. Obligations arising out of a separation agreement or divorce that you did not report as
           priority claims. (Copy line 6g.)                                                               $                  0.00

       9f. Debts to pension or profit-sharing plans, and other similar debts. (Copy line 6h.)            +$                  0.00


       9g. Total. Add lines 9a through 9f.                                                           $                 4,443.00




Official Form 106Sum                             Summary of Your Assets and Liabilities and Certain Statistical Information                     page 2 of 2
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Fill in this information to identify your case:

Debtor 1                      Andrew Greenhut

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       DISTRICT OF MASSACHUSETTS

Case number               19-10782                                                                      Check if this is:
(If known)
                                                                                                            An amended filing
                                                                                                            A supplement showing postpetition chapter
                                                                                                            13 income as of the following date:

Official Form 106I                                                                                          MM / DD/ YYYY
Schedule I: Your Income                                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                    Debtor 2 or non-filing spouse

       If you have more than one job,                                 Employed                                    Employed
       attach a separate page with           Employment status
                                                                      Not employed                                Not employed
       information about additional
       employers.
                                             Occupation            Product Manager
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       DataRobot

       Occupation may include student        Employer's address    225 Franklin Street
       or homemaker, if it applies.                                13th Floor
                                                                   Boston, MA 02210

                                             How long employed there?         1 Year, 1 Month

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                      For Debtor 1          For Debtor 2 or
                                                                                                                            non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.          2.    $       13,666.66         $             N/A

3.     Estimate and list monthly overtime pay.                                              3.   +$              0.00       +$            N/A

4.     Calculate gross Income. Add line 2 + line 3.                                         4.    $     13,666.66               $       N/A




Official Form 106I                                                      Schedule I: Your Income                                                 page 1
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Debtor 1   Andrew Greenhut                                                                       Case number (if known)    19-10782


                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse
     Copy line 4 here                                                                     4.         $     13,666.66       $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.        $      3,680.14       $               N/A
     5b.    Mandatory contributions for retirement plans                                  5b.        $          0.00       $               N/A
     5c.    Voluntary contributions for retirement plans                                  5c.        $      1,626.00       $               N/A
     5d.    Required repayments of retirement fund loans                                  5d.        $          0.00       $               N/A
     5e.    Insurance                                                                     5e.        $        319.00       $               N/A
     5f.    Domestic support obligations                                                  5f.        $          0.00       $               N/A
     5g.    Union dues                                                                    5g.        $          0.00       $               N/A
     5h.    Other deductions. Specify: Transit deductions                                 5h.+       $         90.00 +     $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $          5,715.14       $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          7,951.52       $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.        $              0.00   $               N/A
     8b. Interest and dividends                                                           8b.        $              0.00   $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.        $              0.00   $               N/A
     8d. Unemployment compensation                                                        8d.        $              0.00   $               N/A
     8e. Social Security                                                                  8e.        $              0.00   $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                    0.00   $               N/A
     8g. Pension or retirement income                                                     8g. $                     0.00   $               N/A
     8h. Other monthly income. Specify:                                                   8h.+ $                    0.00 + $               N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $                  0.00   $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $              7,951.52 + $           N/A = $          7,951.52
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                  11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                      12.   $         7,951.52
                                                                                                                                       Combined
                                                                                                                                       monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                     Schedule I: Your Income                                                    page 2
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Fill in this information to identify your case:

Debtor 1                 Andrew Greenhut                                                                   Check if this is:
                                                                                                               An amended filing
Debtor 2                                                                                                             A supplement showing postpetition chapter
(Spouse, if filing)                                                                                                  13 expenses as of the following date:

United States Bankruptcy Court for the:   DISTRICT OF MASSACHUSETTS                                                  MM / DD / YYYY

Case number           19-10782
(If known)



Official Form 106J
Schedule J: Your Expenses                                                                                                                                  12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
           No. Go to line 2.
           Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1 and              Yes.   Fill out this information for   Dependent’s relationship to          Dependent’s       Does dependent
      Debtor 2.                                    each dependent..............    Debtor 1 or Debtor 2                 age               live with you?

      Do not state the                                                                                                                       No
      dependents names.                                                                                                                      Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
                                                                                                                                             No
                                                                                                                                             Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                        Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                          4. $                             1,225.00

      If not included in line 4:

      4a. Real estate taxes                                                                               4a.    $                               0.00
      4b. Property, homeowner’s, or renter’s insurance                                                    4b.    $                               0.00
      4c. Home maintenance, repair, and upkeep expenses                                                   4c.    $                              78.54
      4d. Homeowner’s association or condominium dues                                                     4d.    $                               0.00
5.    Additional mortgage payments for your residence, such as home equity loans                           5.    $                               0.00




Official Form 106J                                                   Schedule J: Your Expenses                                                             page 1
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Debtor 1     Andrew Greenhut                                                                           Case number (if known)      19-10782

6.    Utilities:
      6a. Electricity, heat, natural gas                                                     6a. $                                                 203.10
      6b. Water, sewer, garbage collection                                                   6b. $                                                   0.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                     6c. $                                                  97.72
      6d. Other. Specify:                                                                    6d. $                                                   0.00
7.    Food and housekeeping supplies                                                           7. $                                                928.28
8.    Childcare and children’s education costs                                                 8. $                                                  0.00
9.    Clothing, laundry, and dry cleaning                                                      9. $                                                183.86
10.   Personal care products and services                                                    10. $                                                 203.92
11.   Medical and dental expenses                                                            11. $                                                 262.06
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                           12. $                                                 428.85
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                     13. $                                                 212.75
14.   Charitable contributions and religious donations                                       14. $                                                  36.56
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                  319.83
      15b. Health insurance                                                                15b. $                                                    0.00
      15c. Vehicle insurance                                                               15c. $                                                   85.00
      15d. Other insurance. Specify:                                                       15d. $                                                    0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Vehicle Excise Tax                                                            16. $                                                  10.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                     0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                     0.00
      17c. Other. Specify:                                                                 17c. $                                                     0.00
      17d. Other. Specify:                                                                 17d. $                                                     0.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).        18. $                                                    0.00
19.   Other payments you make to support others who do not live with you.                         $                                                   0.00
      Specify:                                                                               19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                    0.00
      20b. Real estate taxes                                                               20b. $                                                    0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                    0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                    0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                    0.00
21.   Other: Specify:    Expenses related to pet ownership                                   21. +$                                                156.52
      Expected Average Purchases for infant care prior to birth                                   +$                                                80.14
      Expected Average Purchases for furnishings and nursery                                      +$                                               424.27
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                     $                       4,936.40
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                             $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                $                       4,936.40
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                      23a. $                               7,951.52
    23b. Copy your monthly expenses from line 22c above.                                                   23b. -$                              4,936.40

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                           23c. $                              3,015.12

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
         No.
         Yes.             Explain here: See attachment to this Schedule "J"




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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 In re   Andrew Greenhut                                                        Case No.   19-10782
                                                         Debtor(s)



                                      SCHEDULE J - YOUR EXPENSES
                                                   Attachment A

The Debtor is expecting a child with his partner starting in December 2020. At that time the Debtor expects the
following changes to his expenses:



Child Care Expenses (Line 8) will increase from $0 to $1,956.79 per month;

§ 529 Plan Contribution (Line 21) will increase from $0 to $625 per month;

Personal Care Expenses (Line 10) will increase from $203.92 to 215.93 per month;

Transportation Expenses (Line 12) will decrease from $428.85 to $330.08 per month;

Entertainment Expenses (Line 13) will decrease from $212.75 to $172.21 per month;

Life Insurance Expenses (Line 15a) will increase from $319.83 to $367.83 per month; and

Other Child-related Expenses (Line 21) will decrease from $504.41 to $225.15 per month.

The aggregate of the foregoing changes in Schedule "J" Expenses will result in a total net increase of $2,223.23 per
month, for a concomitant reduction in the Debtor's Chapter 13 Plan Payment for the expected remainder of the
Plan term starting with the December 2020 payment to the Chapter 13 Trustee.
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 Fill in this information to identify your case:

 Debtor 1                    Andrew Greenhut
                             First Name                     Middle Name             Last Name

 Debtor 2
 (Spouse if, filing)         First Name                     Middle Name             Last Name


 United States Bankruptcy Court for the:              DISTRICT OF MASSACHUSETTS

 Case number              19-10782
 (if known)
                                                                                                                                      Check if this is an
                                                                                                                                      amended filing



Official Form 106Dec
Declaration About an Individual Debtor's Schedules                                                                                                          12/15

If two married people are filing together, both are equally responsible for supplying correct information.

You must file this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20
years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.



                       Sign Below


        Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

                No

                Yes. Name of person                                                                             Attach Bankruptcy Petition Preparer’s Notice,
                                                                                                                Declaration, and Signature (Official Form 119)


       Under penalty of perjury, I declare that I have read the summary and schedules filed with this declaration and
       that they are true and correct.

        X /s/ Andrew Greenhut                                                       X
              Andrew Greenhut                                                           Signature of Debtor 2
              Signature of Debtor 1

              Date       June 1, 2020                                                   Date




Official Form 106Dec                                       Declaration About an Individual Debtor's Schedules
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                         UNITED STATES BANKRUPTCY COURT
                                      FOR THE
                            DISTRICT OF MASSACHUSETTS


 In re                                                IN PROCEEDINGS UNDER
 ANDREW GREENHUT,                                     CHAPTER 13
                Debtor                                CASE NO.: 19-10782


                                CERTIFICATE OF SERVICE

       I, Richard N. Gottlieb, Esq., do hereby certify that I have this day served a copy of the

Motion of Debtor to Amend Summary of Schedules, Schedules “I” and “J” and Form 106Dec

and a copy of the Debtor’s Amended Summary of Schedules, Amended Schedules “I” and “J”

and Amended Form 106Dec, by First-Class Mail Postage Paid and/or electronically via the

CM/ECF Electronic Messaging System on the persons listed below.


Date: June 1, 2020                           /s/ Richard N. Gottlieb, Esq.
                                             Richard N. Gottlieb, Esq. BBO # 547970
                                             Law Offices of Richard N. Gottlieb
                                             Ten Tremont Street
                                             Suite 11, 3rd Floor
                                             Boston, Massachusetts 02108
                                             (617) 742-4491
                                             rnglaw@verizon.net
PERSONS SERVED:



Carolyn Bankowski, Esq.                              Po Box 8801
Chapter 13 Trustee                                   Wilmington, DE 19899
(Served via CM/ECF)                                  Capital One
                                                     Attn: Bankruptcy
Alex Mattera, Esq.                                   Po Box 30285
Partridge, Snow and Hahn, LLP                        Salt Lake City, UT 84130
Counsel to Gita Srivastava
(Served via CM/ECF)                                  Chase Card Services
                                                     Correspondence Dept
Barclays Bank Delaware                               Po Box 15298
Attn: Correspondence                                 Wilmington, DE 19850
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Christopher and Andrea Haas
164R Summer Street
Arlington, MA 02474

Gloria and Alan Greenhut
1560 45th Street
Brooklyn, NY 11219

Internal Revenue Service
P.O. Box 7346
Philadelphia, PA 19101-7346

Mass. Dept. of Revenue
P.O. Box 9564
Boston, MA 02204

Rtn Federal Credit Union
600 Main St
Waltham, MA 02452
